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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 23-cv-03415-GPG-CYC

FARM CREDIT LEASING SERVICES CORPORATION,

      Plaintiff,

v.

GOOD FORAGE, LLC, et al.,

      Defendants.

______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Cyrus Y. Chung, United States Magistrate Judge, on March 6, 2025.

       THIS MATTER, having come before the Court on Parties’ Stipulated Motion to Extend
the Rule 30(b)(6) Deposition Deadline and the Deadline to File Dispositive Motions (the
“Motion”), ECF No. 88, and the Court being fully advised, orders as follows:

      The Motion, ECF No. 88, is GRANTED and it is HEREBY ORDERED that the
Scheduling Order be amended as follows:

                              Previous Deadline             New Deadline
 Rule 30(b)(6) Deposition     March 4, 2025                 March 25, 2025
 Deadline
 Dispositive Motions Deadline April 7, 2025                 April 25, 2025
